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                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA

                                            1:18-CV-24227-CMA-Altonaga

  JASON MILLER,                                         )
                                                        )
                                     Plaintiff,         )
                                                        )
          vs.                                           )
                                                        )
  GIZMODO MEDIA GROUP, LLC, et al.,                     )
                                                        )
                                     Defendants.        )
                                                        )
                                                        )
                                                        )


   DEFENDANTS’ UNCONTESTED MOTION TO FILE INFORMATION DESIGNATED
               BY PLAINTIFF AS CONFIDENTIAL UNDER SEAL
               AND INCORPORATED MEMORANDUM OF LAW

           Pursuant to Local Rule 5.4 and this Court’s Confidentiality Order (D.E. 100),

  Defendants, Gizmodo Media Group, LLC and Katherine Krueger (“Defendants”), hereby move

  this Court for an Order permitting the filing of information designated by Plaintiff as

  “confidential” under seal in support of Defendants’ forthcoming Motion for Summary Judgment.

  As grounds for this Motion, Defendants state as follows:

           On March 28, 2019, this Court entered a Confidentiality Order, which permits the parties

  to designate Discovery Material, including deposition testimony, as “Confidential” if the

  material contains commercially sensitive or otherwise confidential information. (D.E. 100 at ¶ 2).

  The Confidentiality Order also states a party shall not file “Discovery Material designated as

  ‘Confidential’ . . . unless there is an agreement of the parties or an order of the Court, which shall

  be in compliance with Southern District of Florida Local Rule 5.4.” Id. at ¶ 7. Importantly, the

  Confidentiality Order provides that no part of it is “to be construed as to supersede the



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  requirements and procedures in Local Rule 5.4.” Id.

           Pursuant to the Confidentiality Order, Plaintiff’s counsel has designated certain testimony

  within the depositions of Plaintiff, Kelly Miller,1 Arlene Delgado2 and Lawrence Carnevale3 as

  “Confidential.” Defendants intend to file their Motion for Summary Judgment on June 27, 2019

  (the dispositive motion deadline), and they have incorporated some of the designated testimony

  into the Motion. They also intend to attach and file the pages of the deposition transcripts

  containing the designated testimony as Exhibits to their Motion.

           To be clear, Defendants do not agree with Plaintiff’s counsel’s designation of all of this

  testimony as “Confidential,” and Defendants do not intend to waive their objections to the

  designations through this Motion. However, Plaintiff’s designations require Defendants to file

  these materials under seal. (D.E. 100). In order for a party to file information or documents under

  seal in accordance with Local Rule 5.4, the party must first file “a motion to file under seal that .

  . . describes the information or documents to be sealed (the ‘proposed sealed material’) with as

  much particularity as possible, but without attaching or revealing the content of the proposed

  sealed material.” Local Rule 5.4(b)(1). The party may not file the proposed sealed material

  unless and until the court grants the motion. Id. Importantly, if the party is required to publicly

  file a motion or memorandum that attaches or reveals the content of the proposed sealed

  material, then the party must redact from the public filing all content that is the subject of the

  motion to file under seal. Id.

           Accordingly, pursuant to Local Rule 5.4(b)(1), the proposed sealed materials at issue are

  the following pages of the deposition transcripts of Plaintiff, Kelly Miller, Arlene Delgado and



  1
    Kelly Miller is Plaintiff’s wife.
  2
    Arlene Delgado is the author of the Supplement upon which the Article reported.
  3
    Lawrence Carnevale is the General Counsel of Teneo, Plaintiff’s most recent employer.

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  Lawrence Carnevale:4

           Plaintiff: 36 – 37, 93 – 95, 106, 108, 115, 117 -118, 125 - 126, 128, 138 – 139, 141, 143,

  145, 147 – 151, 160 – 161, 169 – 171, 193, and 195. In these excerpts, Plaintiff discusses his

  relationship with Arlene Delgado, his marriage to Kelly Miller, and how they affected each

  other. In one instance, he discusses the source of his income while he worked on President

  Trump’s campaign.

           Kelly Miller: 26, 29 - 31. In these excerpts, Mrs. Miller generally discusses her marriage

  to Plaintiff.

           Arlene Delgado: 124, 133 – 137, 140 – 141, 145 – 147, 162, 179, and 193. In these

  excerpts, Ms. Delgado discusses her relationship with Plaintiff and certain encounters with him.

           Lawrence Carnevale: 152. In this excerpt, Mr. Carnevale discusses Plaintiff’s

  compensation at Teneo.

           Defendants’ Motion for Summary Judgment relies heavily on the designated testimony. If

  Defendants are required to redact the designated testimony that has been incorporated into their

  Motion and/or are not permitted to attach the deposition transcripts as Exhibits to the Motion,

  much of the Motion will become unreadable and incomprehensible. Accordingly, Defendants

  respectfully request that this Court rule on the instant Motion as soon as possible, so that

  Defendants may file their Motion and Exhibits without redaction prior to the dispositive motion

  deadline.




  4
    Defendants apologize for the late filing of this motion. However, Plaintiff’s timeframe to
  designate deposition portions confidential has not yet expired in some cases. Plaintiff’s counsel
  has cooperated in reviewing those pages pertinent to the summary judgment motion in advance
  of those deadlines and this afternoon provided to us the page numbers we needed to complete
  this motion.

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                                            CONCLUSION

           For the foregoing reasons, Defendants respectfully request that the Court grant this

  Motion and allow them to file their Motion for Summary Judgment and accompanying Exhibits,

  portions of which have been designated by Plaintiff as “Confidential,” under seal until such time

  as this Court may determine the propriety of Plaintiff’s designations.5

                            CERTIFICATE OF GOOD FAITH CONFERENCE

           Pursuant to Local Rule 7.1(a)(3), counsel for Defendants conferred with counsel for

  Plaintiff regarding the relief requested herein. Counsel for Plaintiff agrees on the affirmative

  resolution of this Motion.

                                                        Respectfully submitted,


  Dated: June 26, 2019


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   Defendants intend to challenge these designations at a hearing scheduled before Judge
  Goodman on June 28, 2019.

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                                     CERTIFICATE OF SERVICE

           I hereby certify that on June 26, 2019, a true and correct copy of the foregoing has been

  served by CM/ECF on all counsel or parties of record on the service list.

                                                 Deanna K. Shullman
                                                 Deanna K. Shullman
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                                            SERVICE LIST


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